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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 ROBERT F. KENNEDY HUMAN RIGHTS;                     Case No. 1:25-cv-1270-ACR
 SOUTHERN BORDER COMMUNITIES
 COALITION; URBAN JUSTICE CENTER,

                Plaintiffs;
                                                     DEFENDANTS’ NOTICE
        v.

 U.S. DEPARTMENT OF HOMELAND
 SECURITY; KRISTI NOEM, in her official
 capacity as Secretary of Homeland Security,

                Defendants.



       In response to the Court’s question during the May 19 hearing, Mr. Sartini will brief the

Secretary’s Office on his recommendations for the Office for Civil Rights and Civil Liberties and

the Office of the Immigration Detention Ombudsman no later than Friday, May 23.
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Dated: May 20, 2025                            Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I certify that on May 20, 2025, a true and correct copy of the foregoing document was

electronically filed via the Court’s CM/ECF system which sends notice of electronic filing to all

counsel of record.

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